         Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 1 of 9




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                           ATHENS DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                               Plaintiff,

                      v.                           Civil Action File No.
                                                   3:19-cv-00055-CDL
SYED ARHAM ARBAB; ARTIS
PROFICIO CAPITAL INVESTMENTS,
LLC; and ARTIS PROFICIO CAPITAL
MANAGEMENT, LLC,

                              Defendants.



                ORDER FOR PRELIMINARY INJUNCTION
                   AND OTHER EQUITABLE RELIEF

      The Securities and Exchange Commission (“Commission”) having filed a

Complaint and Motion for Temporary Restraining Order and Other Equitable

Relief and Defendants Syed Arham Arbab (“Arbab”), Artis Proficio Capital

Investments, LLC (“APCI”), and Artis Proficio Capital Management, LLC

(“APCM”) (“collectively “Defendants”) having been served with same and having

entered a general appearance; consented to the Court’s jurisdiction over

Defendants and the subject matter of this action; and consented to entry of this

Order for Preliminary Injunction and Other Equitable Relief (“Order”), without


                                            1
           Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 2 of 9




admitting or denying the allegations of the Complaint (except as to jurisdiction and

except as otherwise provided herein in paragraph); waived findings of fact and

conclusions of law; and waived any right to appeal from this Order

      Now, therefore:

                                          I.

      IT IS HEREBY ORDERED that, pending further order of this Court:

      A.      The assets of Defendants Arbab, APCI and APCM are hereby frozen.

The freeze shall include but not be limited to those funds located in any bank

accounts of the defendants. In addition, proceeds derived from the securities

offerings alleged in the Commission’s complaint remaining in the custody or

control of any defendant are hereby frozen regardless of where said proceeds are

located.

      B.      Defendants and their agents, servants, employees, attorneys-in-fact, and

those persons in active concert or participation with them who receive actual notice

of this Order by personal service or otherwise and each of them, hold and retain

within their control, and otherwise prevent any disposition, transfer, pledge,

encumbrance, assignment, dissipation, concealment, or other disposal whatsoever of

any of their funds or other assets or things of value presently held by them, under

their control or over which they exercise actual or apparent authority, in whatever

form such assets presently exist.
                                           2
           Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 3 of 9




      C.      That any financial or brokerage institution or other person or entity

holding any funds or assets in the name of, for the benefit of, or under the control of

defendants, their agents, servants, employees, attorneys-in-fact, and those persons in

active concert or participation with them, and each of them, shall hold and retain

within their control and prohibit the withdrawal, removal, transfer or other disposal

of any such funds or other assets except as otherwise ordered by this Court.

      D.      Notwithstanding the provisions of this Paragraph I, Defendant Arbab

shall be allowed to:

      (1) open a new checking account in his own name to fund his living expenses

going forward. This account shall not be covered by the freeze provisions of this

order provided that the account only receives assets that Arbab acquired or received

after June 1, 2019; and

      (2) pending further order of this Court, continue to drive any automobiles that

are titled in his name.

                                          II.

      IT IS FURTHER ORDERED that Defendant Arbab shall submit in writing

to this Court and the Commission within five (5) business days following service of

this Order, the following identifying information;




                                           3
         Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 4 of 9




      (A)    all names by which every person with authority to exercise control of

APCI and APCM is known, all business and residence addresses, postal box

numbers, telephone numbers, and facsimile numbers, e-mail addresses and the

nationality of such persons; and

      (B)    each account with any financial institution or brokerage firm

maintained in each defendant’s name or held for each defendant’s direct or indirect

beneficial interest from May 1, 2018 through the present.

                                         III.

      IT IS FURTHER ORDERED that Defendants and their agents, servants,

employees, attorneys-in-fact, and those persons in active concert or participation

with them who receive actual notice of this Order by personal service or otherwise,

and each of them, are hereby restrained from destroying, mutilating, concealing,

altering, or disposing of any document referring or relating in any manner to any

transactions described in the Commission’s complaint in this action. As used in this

order, “document” means the original and all non-identical copies (whether non-

identical because of handwritten notation or otherwise) of all written or graphic

matter, however produced, and any other tangible record, or electronic data

compilation capable of reproduction in tangible form, including, without limitation,

correspondence, memoranda, minutes, telephone records, emails, text messages,


                                          4
         Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 5 of 9




reports, studies, telexes, diaries, calendar entries, contracts, letters of agreement, and

including any and all existing drafts of all documents.

                                           IV.

      IT IS FURTHER ORDERED that Defendants and their agents, servants,

employees, attorneys-in-fact, and those persons in active concert or participation

with them who receive actual notice of this Order by personal service or otherwise,

and each of them, are hereby restrained from destroying, mutilating, concealing,

altering, or disposing of any electronic device that Defendants used at any time from

January 2018 through the present.

                                             V.

      IT IS FURTHER ORDERED that, pursuant to Rule 4 of the Federal Rules

of Civil Procedure, service of all pleadings and other papers, including the

Summons, the Complaint, this Order and all documents filed in support thereof, and

all other documents to be served in this action, may be made personally, by

facsimile, by overnight courier, by email, or by mail upon each defendant, their

attorney(s), including banks to the extent permitted by law, or by alternative

provision for service permitted by Rule 4 of the Federal Rules of Civil Procedure, or

as this Court may direct by further order.




                                             5
         Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 6 of 9




                                         VI.

      IT IS FURTHER ORDERED that, for purposes of Rule 26(d)(1) for the

Federal Rules of Civil Procedure and Local Rule 26A, the date this Order is entered

shall be the “responsive pleading” for purposes of the parties’ obligation to prepare

a discovery order or report.

                                         VII.
      IT IS FURTHER ORDERED that Defendants prepare and present to this

Court and to the Commission a sworn accounting of all funds received by each

Defendant pursuant to the scheme described in the Commission’s Complaint and of

the disposition and use of said proceeds. This accounting shall include, but not be

limited to, the name and address of each investor, the amount invested, the total

amount received from investors, the date each such investment was made and a

listing of all expenditures showing the amount and to whom paid and the date of

payment. The accountings shall be submitted to this Court and served upon the

Commission within 20 days from the date of entry of this Order.

                                        VIII.

      IT IS FURTHER ORDERED that, pending determination of the Motion for

Preliminary Injunction, the Defendants and their agents, servants, employees,

attorneys and those persons in active concert or participation with them, be, and they


                                          6
         Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 7 of 9




hereby are, restrained from, directly or indirectly, in connection with the purchase or

sale or in the offer or sale of securities, by use of any means or instrumentalities of

interstate commerce or any means or instruments of transportation or

communication in interstate commerce, or by the mails or any facility of any

national securities exchange, be, and they hereby are, restrained from, directly or

indirectly:

       (1)    employing any device, scheme, or artifice to defraud;

       (2)    engaging in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person;

       (3)    obtaining money or property by means of any untrue statement of a

       material fact, or omitting to state a material fact necessary in order to make

       the statements made, in the light of the circumstances under which they were

       made, not misleading; or

       (4)    making any untrue statement of a material fact or omitting to state a

       material fact necessary in order to make the statements made, in light of the

       circumstances under which they were made, not misleading

in violation of Section 17(a) of the Securities Act of 1933 [15 U.S.C. § 77q(a)],

Section 10(b) of the Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)], and Rule

10b-5 [17 C.F.R. § 240.10b-5], and Sections 206(1), (2) and (4) of the Investment

                                            7
         Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 8 of 9




Advisers Act of 1940 [15 U.S.C. §§ 80b-6(1), (2) and (4)] and Advisers Act Rule

206(4)-8 [17 C.F.R. § 275.206(4)-8], by directly or indirectly, (1) creating a false

appearance or otherwise deceiving any person or (ii) disseminating false or

misleading documents, materials, or information or making either orally or in

writing, any false or misleading statement in any communication with any investor,

client, prospective investor or prospective client, about:

      (A)    the use of investor funds;

      (B)    the rates of return from any investment with Defendants; and

      (C)    the education of Defendant Arbab.

                                           IX.

      IT IS FURTHER ORDERED that any brokerage institution, financial

institution, bank, savings and loan, mutual fund, or any other person, partnership, or

corporation maintaining or having custody or control of any brokerage or deposit

account or other assets of any of the defendants or under their control, and that

receives actual notice of this order by personal service, facsimile transmission or

otherwise shall, within five (5) business days of receipt of that notice, file with the

Court and serve on counsel for the Commission a certified statement setting forth,

with respect to each such account or other asset, the balance in the account or



                                            8
          Case 3:19-cv-00055-CDL Document 9 Filed 06/04/19 Page 9 of 9




description of the assets as of the close of business on the date of receipt of the

notice.

                                           X.

      IT IS FURTHER ORDERED that this Order does not preclude the

Commission from seeking disgorgement and prejudgment interest and the

imposition of civil penalties, a permanent injunction or any other relief in this action

                                           XI.

      IT IS FURTHER ORDERED that the Court shall retain jurisdiction of this

matter for all purposes.

     ADDED BY THE COURT: THE COURT NOTES THAT IT MADE NO
CHANGES TO THE CONSENT ORDER ABOVE WHICH WAS PRESENTED
TO THE COURT JOINTLY BY THE PARTIES. ALTHOUGH THE ORDER
GOES BEYOND THE MERE MAINTAINING OF THE STATUS QUO AND
APPEARS TO HAVE BEEN AGREED TO BY DEFENDANTS WHILE ACTING
IN THEIR PRO SE CAPACITIES, IT APPEARS THAT DEFENDANTS HAVE
AGREED TO SUCH PRELIMINARY RELIEF. SHOULD DEFENDANTS
RECONSIDER, THEY SHALL BE PERMITTED TO FILE A MOTION TO
MODIFY THE CONSENT ORDER, WHICH THE COURT WILL CONSIDER IN
DUE COURSE.
      Dated this 4th day of June, 2019.

                                         s/Clay D. Land
                                         CLAY D. LAND
                                         CHIEF U.S. DISTRICT COURT JUDGE
                                         MIDDLE DISTRICT OF GEORGIA



                                            9
